

Izzo v David L. Vickers &amp; Sons (2019 NY Slip Op 06280)





Izzo v David L. Vickers &amp; Sons


2019 NY Slip Op 06280


Decided on August 22, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 22, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, TROUTMAN, AND WINSLOW, JJ.


543.7 CA 17-01397

[*1]GLORIA M. IZZO, PLAINTIFF-RESPONDENT-APPELLANT,
vDAVID L. VICKERS &amp; SONS AND DAVID L. VICKERS, INDIVIDUALLY, DEFENDANTS-APPELLANTS-RESPONDENTS. (APPEAL NO. 7.) 






SAUNDERS KAHLER, LLP, UTICA (MERRITT S. LOCKE OF COUNSEL), FOR DEFENDANTS-APPELLANTS-RESPONDENTS.
BOSMAN LAW FIRM, LLC, ROME (A.J. BOSMAN OF COUNSEL), FOR PLAINTIFF-RESPONDENT-APPELLANT.


	Appeal and cross appeal from a judgment of the Supreme Court, Oneida County (Patrick F. MacRae, J.), entered April 20, 2017. The judgment awarded plaintiff money damages. 
It is hereby ORDERED that the judgment so appealed from is unanimously vacated and the order entered December 10, 2015 is modified on the law by granting that part of the motion of defendants David L. Vickers &amp; Sons and David L. Vickers, individually, for summary judgment dismissing the negligence cause of action and as modified the order is affirmed without costs.
Same memorandum as in Sestito v David L. Vickers &amp; Sons ([appeal No. 2] — AD3d — [Aug. 22, 2019] [4th Dept 2019]).
Entered: August 22, 2019
Mark W. Bennett
Clerk of the Court








